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                                                                Thursday, 20 September, 2018 01:57:13 PM
                                                                              Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  URBANA DIVISION

ANNABEL BURTON and MARK BURTON,    )
                                   )
                  Plaintiffs,      )
                                   )
      v.                           )                 Case No.
                                   )
PIATT COUNTY NURSING HOME and GARY )
COULTER,                           )
                                   )
                  Defendants.      )                         Jury Demand

                                           Complaint

       The plaintiffs, Annabel Burton and Mark Burton, state the following in support of their

complaint against the defendants, Piatt County Nursing Home (the "Nursing Home") and Gary

Coulter ("Coulter"):

                                        Nature of Claim

       1.      This lawsuit is brought by Annabel and Mark Burton, husband and wife. Annabel

Burton was formerly employed by the Nursing Home and was terminated on August 9, 2017.

Coulter was, at the time, the Executive Director of the Nursing Home. Annabel Burton brings

claims under both 42 U.S.C. § 1983 and 42 U.S.C.§ 2000e et seq. Mark Burton's claim is brought

under 42 U.S.C. § 1983.

                                     Jurisdiction and Venue

       2.      This lawsuit is brought under a federal statute making jurisdiction in this Court

appropriate.

       3.      The actions giving rise to this complaint occurred in Piatt County, Illinois, making


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venue appropriate in this Court.

                                                Parties

            4.    Annabel Burton is an adult resident of Piatt County, Illinois. She was employed

by the Nursing Home and was terminated from her position on August 9, 2017.

            5.    Mark Burton is married to Annabel Burton and is also a resident of Piatt County,

Illinois.

            6.    The Nursing Home is a nursing facility that is operated by Piatt County, Illinois.

It is a unit of local government.

            7.    Coulter was formerly the Executive Director of the Nursing Home and is named

in his individual capacity.

                                         Factual Background

            8.    Annabel Burton was born in the Philippines and moved to the United States in

1991. She is of Asian descent and is an American citizen.

            9.    Annabel Burton and Mark Burton are married.

            10.   Annabel Burton began working for the Nursing Home in August 2013 in its

Dietary Department as a cook.

            11.   Annabel Burton continued to be employed by the Nursing Home until she was

suspended from her position without pay on August 2, 2017. She was terminated on August 9,

2017.

            12.   The Nursing Home is a long term care facility and receives federal funds.

            13.   While working for the Nursing Home as a cook Annabel Burton had concerns

about what she legitimately believed were issues of patient safety and health. This included

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concerns that she had about food preparation and concerns that food was not safe for the nursing

residents to eat.

        14.     Annabel Burton mentioned her concerns to those working in the kitchen and she

also mentioned those concerns to Coulter.

        15.     Annabel Burton's concerns about patient safety were largely ignored by the

management at the Nursing Home. Nothing was done to address or rectify those concerns.

        16.     Recognizing that her concerns about public safety were not being addressed by

management, Annabel Burton, concerned about resident health and safety, explained her

concerns to her husband, Mark Burton.

        17.     Mark Burton and Annabel Burton agreed that there were legitimate concerns

to the health of the residents at the Nursing Home, that the Nursing Home was not doing

anything to address those concerns, and decided that they needed to address these concerns to

the Illinois Department of Public Health.

        18.     On July 20, 2017, at approximately 11:44 a.m. Mark Burton, with Annabel

Burton sitting next to him, placed a call to the Illinois Department of Public Health. During that

call Mark Burton advised that there were issues at the Nursing Home regarding resident safety.

This included concerns about the actions of a specific employee and concerns that food intended

for residents was not healthy.

        19.     As a result of the call placed by Mark Burton and Annabel Burton, the Illinois

Department of Public Health launched an investigation (Complaint #95626).

        20.     On August 1, 2017, investigators from the Illinois Department of Public Health

showed up at the Nursing Home for an unannounced inspection.

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       21.     The Illinois Department of Public Health notified Coulter that a complaint had

been filed by Mark Burton.

       22.     Coulter knew that Mark Burton was Annabel Burton's husband.

       23.     On August 2, 2017, Coulter issued a disciplinary notice suspending Annabel

Burton without pay. The stated justification for doing so was because Annabel Burton had

shared information regarding issues in the Nursing Home's kitchen with her husband, Mark

Burton.

       24.     The only reason that Gary Coulter suspended Annabel Burton was because she

complained to her husband and, ultimately, a complaint was filed with the Illinois Department of

Public Health about the safety of Nursing Home residents.

       25.     The goal of Annabel and Mark Burton in complaining to the Illinois Department

of Public Health was to promote patient safety and public health.

       26.     Annabel Burton's speech was made on a matter of public concern and was not

made pursuant to her job duties.

       27.     On August 9, 2017, Coulter terminated Annabel Burton's employment with the

Nursing Home.

       28.     On or about August 22, 2017, the Illinois Department of Public Health made a

finding on the complaint filed by Mark and Annabel Burton. Specifically, the Department

concluded that the Nursing Home was in violation of its rules.




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                                           Count I
                  Annabel Burton First Amendment Retaliation as to Gary Coulter

       29.     Paragraphs 1-28 are incorporated herein.

       30.     Annabel Burton engaged in speech protected by the First Amendment to the

United States Constitution.

       31.     Annabel Burton's speech, as outlined above, touched upon a matter of public

concern and was not made pursuant to her job duties.

       32.     Coulter retaliated against Annabel Burton when he suspended her without pay

from her employment on August 2, 2017, and further retaliated against her when he terminated

her employment on August 9, 2017.

       33.     These actions constituted a violation of her rights under the First Amendment

to the Constitution.

       34.     Annabel Burton has been damaged as a result of these actions. The damages

include loss of wages, injury to reputation, and emotional distress.

       Wherefore, Annabel Burton requests that this Court enter judgment in her favor and

against Coulter and order the following relief:

       1.      An award of damages sufficient to compensate her for her injuries.

       2.      An award of attorney fees incurred to proceed on this claim.

       3.      An award of punitive damages.

       4.      Equitable relief, including reinstatement.

       5.      Any other relief that is appropriate and just.




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                                           Count II
                    Mark Burton First Amendment Retaliation as to Gary Coulter

       35.     Paragraphs 1-28 are incorporated herein.

       36.     Mark Burton engaged in speech protected by the First Amendment to the

United States Constitution when he complained to the Illinois Department of Public Health.

       37.     Coulter retaliated against Mark Burton when he suspended his wife, Annabel

Burton, without pay from her employment on August 2, 2017, and further retaliated against

Mark Burton when he terminated his wife's employment on August 9, 2017.

       38.     These actions constituted a violation of his rights under the First Amendment

to the Constitution.

       39.     Mark Burton has been damaged as a result of these actions.

       Wherefore, Mark Burton requests that this Court enter judgment in his favor and against

Coulter and order the following relief:

       1.      An award of damages sufficient to compensate him for his injuries.

       2.      An award of attorney fees incurred to proceed on this claim.

       3.      An award of punitive damages.

       4.      Any other relief that is appropriate and just.




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                                           Count III
                     Annabel Burton Title VII claim against the Nursing Home

       40.     Paragraphs 1-28 are incorporated herein.

       41.     Annabel's Burton's race and national origin both were a factor that motivated

the decision to both suspend her without pay and to terminate her employment.

       42.     But for Annabel Burton's race and national origin she would not have been

suspended and her employment would not have been terminated.

       43.     Prior to initiating this lawsuit Annabel Burton filed a charge of discrimination

with the United States Equal Employment Opportunity Commission (Charge No. 21B-2018-

00106).

       44.     On July 12, 2018, Annabel Burton received a right to sue notice from the

United States Equal Employment Opportunity Commission.

       45.     Annabel Burton has sustained damages as a result of the foregoing. In this respect

she has lost wages, benefits and sustained other financial losses. Annabel Burton has also

sustained emotional damages as a result of her termination.

       Wherefore, Annabel Burton requests that this Court enter judgment in her favor and

against the Nursing Home and order the following relief:

       1.      An award of damages sufficient to compensate Annabel Burton for her injuries.

       2.      An award of attorney fees incurred to proceed on this claim.

       3.      Equitable relief, including reinstatement.

       4.      Any other relief that is appropriate and just.

                         Plaintiffs Demand a Jury Trial on All Counts


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s/ John A. Baker

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